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07/31/2020 08:09 AM CDT




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                               Nebraska Supreme Court Advance Sheets
                                        306 Nebraska Reports
                                STATE EX REL. COUNSEL FOR DIS. v. WORTHMAN
                                              Cite as 306 Neb. 289



                              State of Nebraska ex rel. Counsel for
                            Discipline of the Nebraska Supreme Court,
                                   relator, v. Jon P. Worthman,
                                            respondent.
                                                  ___ N.W.2d ___

                                        Filed June 26, 2020.    No. S-20-422.

                    Original action. Judgment of disbarment.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.

                    Per Curiam.
                                      INTRODUCTION
                  This case is before the court on the voluntary surrender
               of license filed by respondent, Jon P. Worthman, on June 12,
               2020. The court accepts respondent’s voluntary surrender of his
               license and enters a judgment of disbarment.

                                  STATEMENT OF FACTS
                  Respondent was admitted to the practice of law in the
               State of Nebraska on September 22, 1994. On June 12, 2020,
               respondent filed a voluntary surrender of license to practice
               law, in which he stated that on January 7, 2020, he was arrested
               in Scotts Bluff County, Nebraska, for being in possession of
               cocaine. Respondent was ultimately charged with “posses-
               sion of a controlled substance with intent to distribute, to wit;
               Cocaine, not less than 10 grams but not more than 28 grams,”
               in violation of Neb. Rev. Stat. § 28-416(7)(c) (Cum. Supp.
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         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
         STATE EX REL. COUNSEL FOR DIS. v. WORTHMAN
                       Cite as 306 Neb. 289
2018), a Class ID felony. Respondent stated that he freely
and voluntarily surrenders his privilege to practice law in the
State of Nebraska; waives his right to notice, appearance, or
hearing prior to the entry of an order of disbarment; and con-
sents to the entry of an immediate order of disbarment.

                          ANALYSIS
   Neb. Ct. R. § 3‑315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal
      Charge has been filed, suggested, or indicated against a
      member, the member may voluntarily surrender his or
      her license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge
      and waives all proceedings against him or her in connec-
      tion therewith.
Pursuant to § 3‑315 of the disciplinary rules, we find that
respondent has voluntarily surrendered his license to practice
law and knowingly does not dispute the allegations that he has
been charged with a criminal offense. Further, respondent has
waived all proceedings against him in connection therewith.
We further find that respondent has consented to the entry of
an order of disbarment.

                        CONCLUSION
   Upon due consideration, the court accepts respondent’s vol-
untary surrender of his license to practice law, finds that
respondent should be disbarred, and hereby orders him dis-
barred from the practice of law in the State of Nebraska, effec-
tive immediately. Respondent shall forthwith comply with all
terms of Neb. Ct. R. § 3‑316 (rev. 2014) of the disciplinary
rules, and upon failure to do so, he shall be subject to punish-
ment for contempt of this court. Accordingly, respondent is
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         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
         STATE EX REL. COUNSEL FOR DIS. v. WORTHMAN
                       Cite as 306 Neb. 289
directed to pay costs and expenses in accordance with Neb.
Rev. Stat. §§ 7‑114 and 7‑115 (Reissue 2012) and Neb. Ct.
R. §§ 3‑310(P) (rev. 2019) and 3‑323 of the disciplinary rules
within 60 days after an order imposing costs and expenses, if
any, is entered by the court.
                                 Judgment of disbarment.
